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           EXHIBIT C
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November 14, 2022                                                      Chicago          Riyadh
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VIA EMAIL                                                              Frankfurt        Seoul
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Jeffrey Cohen                                                          Hong Kong        Silicon Valley

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                      Re:     In re Vital Pharmaceuticals, Inc., et al. (the “Debtors” or “Company”),
                              Case No. 22-17842 (PDR) (Bankr. S.D. Fla.)

Dear Mr. Cohen:

        We write on behalf the Debtors in response to your November 10, 2022 letter. The Debtors
understand that the Official Committee of Unsecured Creditors (the “Committee”) is currently
engaged in diligence concerning the Debtors more broadly, including as to governance-related
issues and the Debtors’ Boards of Directors and/or Managers (as applicable, and collectively, the
“Board”). However, your demand that the Debtors remove certain members from the Board is
unfounded. We are aware of no legal basis for the Committee to demand reconstitution of the
Board or expansion of the authority of the Restructuring Committee, and your letter does not
suggest otherwise, particularly on the present record.

       First and foremost, your letter raises no concerns about any particular action taken by the
Board, or Dr. Escalante or Mr. Hillman specifically. In the event the Committee has a concern
about specific Board actions, we welcome further dialogue.

         Moreover, the pre-existing relationships between Dr. Escalante and Mr. Hillman and the
Debtors do not seriously call into question those members’ ability to act impartially in their present
roles, and are certainly not “per se disqualifying.” Neither Dr. Escalante nor Mr. Hillman is a
current or former employee of the Debtors. They are not currently being compensated by the
Debtors, or Mr. Owoc, other than in their capacities as Board members. The Committee asserts
that the facts that Dr. Escalante previously served as a litigation expert for the Company and
published an article relating to the Company’s products “disqualify Dr. Escalante from the Board.”
Ltr. at 2. But neither serving as an expert, or publishing an article, equates to lack of impartiality.
As for Mr. Hillman, there is likewise no support for the bald assertion that he cannot make
independent decisions because of his role with a distributor of the Debtors’ products. We are not
aware of any authority that deems prior business dealings with the Debtors “per se disqualifying”
(Ltr. at 3), and your letter identifies none. We also disagree with the suggestion that the Debtors’
declaration submitted in support of certain “first day” relief mischaracterizes Dr. Escalante and
Mr. Hillman’s affiliations. Ltr. at 1. Indeed, there are no suggestions that either Dr. Escalante nor
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Mr. Hillman meets any of the criteria to be considered an “affiliate” under the Bankruptcy Code.
See 11 U.S.C § 101(2).

        Notwithstanding our strong disagreement with your characterization of the Board and
certain of its members, we are hopeful that we can engage in a constructive dialogue on this topic
and, while we believe the requests for documents and information in your letter are overbroad,
would be to make ourselves available for a call to address any additional information the
Committee believes it needs on this topic.



                                             Best regards,

                                             /s/ Andrew Sorkin
                                             Andrew Sorkin
                                             of LATHAM & WATKINS LLP
